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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

    In re:                                                Chapter 11

    AGWAY FARM & HOME SUPPLY, LLC,                        Case No. 22-10602 (JKS)

                             Debtor.1

                                                         Objection Deadline: March 23, 2023 at 4:00 p.m. (ET)
                                                                   Hearing Date: Scheduled only if Necessary

            SIXTH MONTHLY APPLICATION FOR COMPENSATION AND
    REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES LLP,
     AS COUNSEL FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
         FOR THE PERIOD OF JANUARY 1, 2023 THROUGH JANUARY 31, 2023



    Name of Applicant:                                  Pachulski Stang Ziehl & Jones LLP
    Authorized to Provide Professional Services
                                                        The Official Committee of Unsecured Creditors
    to:
                                                        July 20, 2022 by Order entered
    Date of Retention:
                                                        September 21, 2022
    Period for which Compensation and
                                                        January 1, 2023 – January 31, 2023
    Reimbursement is Sought:
    Amount of Compensation Sought as Actual,
                                                        $72,681.00
    Reasonable and Necessary:
    Amount of Expense Reimbursement Sought
                                                        $71.34
    as Actual, Reasonable and Necessary:


This is a:            monthly             interim            final application.

                 The total time expended for preparation of this monthly fee application is

approximately 2 hours and the corresponding compensation requested is approximately $2,000.00.




1
  The last four digits of the Debtor’s federal tax identification number are 1247. The Debtor’s address is 6606 W.
Broad Street, Richmond, VA 23230.


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                              PRIOR MONTHLY APPLICATIONS FILED

   Date               Period                Requested         Requested            Approved         Approved
  Filed              Covered                  Fees            Expenses                Fees          Expenses
10.07.22       07.20.22 – 08.31.22         $263,934.50         $391.68             $263,934.50        $391.68
10.28.22       09.01.22 – 09.30.22         $135,367.50         $ 84.20             $135,367.50        $ 84.20
12.09.22       10.01.22 – 10.31.22         $111,238.50         $472.50             $111,238.50        $472.50
01.19.23       11.01.22 – 11.30.22         $113,515.00         $ 93.32             $113,515.00        $ 93.32
02.06.23       12.01.22 – 12.31.22         $ 78,515.00         $ 96.70             $ 78,515.00        $ 96.70

                 PACHULSKI STANG ZIEHL & JONES LLP PROFESSIONALS

                                                                        Hourly       Total
  Name of Professional Position of the Applicant, Year                                              Total
                                                                         Billing     Hours
      Individual       of Obtaining License to Practice                                          Compensation
                                                                          Rate       Billed
  Bradford J. Sandler          Partner 1996                            $1,595.00      5.60          $8,932.00
  Paul John Labov              Partner, 2002                           $1,295.00     11.50         $14,892.50
  Colin R. Robinson            Counsel 2012                            $1,095.00     40.90         $44,785.50
  Ian Densmore                 Paralegal                                $545.00       4.70          $2,561.50
  Patricia J. Jeffries         Paralegal                                $545.00       1.60           $872.00
  Karen S. Neil                Case Management Assistant                $425.00       1.50           $637.50

                                  Grand Total:           $$72,681.00
                                  Total Hours:                 65.80
                                  Blended Rate:            $1,104.57




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                                      COMPENSATION BY CATEGORY


              Project Categories                           Total Hours                     Total Fees
    Asset Disposition                                          4.00                         $ 4,570.00
    Bankruptcy Litigation                                     13.50                         $16,062.50
    Case Administration                                        7.60                         $ 5,452.00
    Claims Administration / Objections                         0.10                         $ 159.50
    Compensation of Professionals                              3.20                         $ 2,554.00
    Compensation of Professionals / Other                      1.00                         $ 1,075.00
    Executory Contracts                                        2.40                         $ 2,628.00
    Financial Filings                                          0.40                         $ 438.00
    Financing                                                  0.40                         $ 518.00
    Operations                                                 0.80                         $ 1,276.00
    Plan & Disclosure Statement                               32.40                         $37,948.00
    Totals                                                    65.80                         $72,681.00


                                          EXPENSE SUMMARY

                                                            Service Provider2                          Total
           Expense Category
                                                             (if applicable)                          Expenses
    Conference Call                                                                                     $ 2.44
    Pacer – Court Research                                                                              $14.90
    Reproduction / Scan Copy                                                                            $54.00
    Total                                                                                               $71.34




2
  PSZ&J may use one or more service providers. The service providers identified herein below are the primary
service providers for the categories described.


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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                Chapter 11

    AGWAY FARM & HOME SUPPLY, LLC,                        Case No. 22-10602 (JKS)

                             Debtor.1

                                                         Objection Deadline: March 23, 2023 at 4:00 p.m. (ET)
                                                                   Hearing Date: Scheduled only if Necessary

            SIXTH MONTHLY APPLICATION FOR COMPENSATION AND
    REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES LLP,
     AS COUNSEL FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
         FOR THE PERIOD OF JANUARY 1, 2023 THROUGH JANUARY 31, 2023

                 Pursuant to sections 330 and 331 of Title 11 of the United States Code (the

“Bankruptcy Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (collectively, the

“Bankruptcy Rules”), and the Court’s Order Establishing Procedures for Interim Compensation

and Reimbursement of Professionals, entered on August 3, 2022 [Docket No. 114] (the

“Administrative Order”), Pachulski Stang Ziehl & Jones LLP (“PSZJ” or the “Firm”), counsel for

the Official Committee of Unsecured Creditors (the “Committee”), hereby submits its Sixth

Monthly Application for Compensation and Reimbursement of Expenses for the Period of January

1, 2023 through January 31, 2023 (the “Application”).

                 By this Application, PSZJ seeks (i) a monthly interim allowance of compensation

in the amount of $72,681.00 and actual and necessary expenses in the amount of $71.34 for a total

allowance of $72,752.34 and (ii) payment of $58,144.80 (80% of the allowed fees pursuant to the

Administrative Order) and reimbursement of $71.34 (100% of the allowed expenses pursuant to

the Compensation Procedures Order) for a total payment of $58,216.14 for the period of January


1
  The last four digits of the Debtor’s federal tax identification number are 1247. The Debtor’s address is 6606 W.
Broad Street, Richmond, VA 23230.


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1, 2023 through January 31, 2023 (the “Interim Period”). In support of this Application, PSZJ

respectfully represents as follows:

                                                 Background

                 1.          On July 5, 2022 (the “Petition Date”), the Debtor filed a voluntary petition

for relief under chapter 11 of the Bankruptcy Code. The Debtor is operating its business and

managing its property as a debtor in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. No request for the appointment of a trustee or examiner has been made in this

chapter 11 case.

                 2.          On July 18, 2022, the Office of the United States Trustee established the

Committee pursuant to section 1102(a)(1) of the Bankruptcy Code, which currently is comprised

of the following seven members: (i) The Scotts Company, LLC; (ii) Animal Health International,

Inc.; (iii) Wildlife Sciences, LLC; (iv) Capital Forrest Products; (v) Gallagher North America, Inc.;

(vi) Hub Group, Inc.; and (vii) American Wood Fibers, Inc.[Docket Nos. 118 and 289].

                 3.          On August 3, 2022, the Court signed the Administrative Order, authorizing

certain professionals (“Professionals”) to submit monthly applications for interim compensation

and reimbursement for expenses, pursuant to the procedures specified therein. The Administrative

Order provides, among other things, that a Professional may submit monthly fee applications. If

no objections are made within ten (10) days after service of the monthly fee application the Debtor

is authorized to pay the Professional eighty percent (80%) of the requested fees and one hundred

percent (100%) of the requested expenses. Beginning with the period September 30, 2022, and at

three-month intervals or such other intervals convenient to the Court, each Professional shall file



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and serve an interim application for allowance of the amounts sought in its monthly fee

applications for that period. All fees and expenses paid are on an interim basis until final allowance

by the Court.

                 4.          The retention of PSZJ, as counsel to the Committee, was approved effective

as of July 20, 2022, by this Court’s Order Authorizing and Approving the Retention of Pachulski

Stang Ziehl & Jones LLP as Counsel to the Official Committee of Unsecured Creditors, Effective

as of July 20, 2022 [Docket No. 205] (the “Retention Order”). The Retention Order authorized

PSZJ to be compensated on an hourly basis and to be reimbursed for actual and necessary out-of-

pocket expenses.

                      PSZJ’S APPLICATION FOR COMPENSATION AND
                           FOR REIMBURSEMENT OF EXPENSES

                                     Compensation Paid and Its Source

                 5.          All services for which PSZ&J requests compensation were performed for

or on behalf of the Committee. PSZ&J has received no payment and no promises for payment

from any source other than the Debtor for services rendered or to be rendered in any capacity

whatsoever in connection with the matters covered by this Application. There is no agreement or

understanding between PSZ&J and any other person other than the partners of PSZ&J for the

sharing of compensation to be received for services rendered in this case. PSZ&J has not received

a retainer in this case.

                                               Fee Statements

                 6.          The fee statement for the Interim Period is attached hereto as Exhibit A.

This statement contains daily time logs describing the time spent by each attorney and


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paraprofessional during the Interim Period. To the best of PSZJ’s knowledge, this Application

complies with sections 330 and 331 of the Bankruptcy Code, the Bankruptcy Rules and the

Administrative Order. PSZJ’s time reports are initially handwritten or directly entered in the

billing system, by the attorney or paralegal performing the described services. The time reports

are organized on a daily basis. PSZJ is particularly sensitive to issues of “lumping” and, unless

time was spent in one time frame on a variety of different matters for a particular client, separate

time entries are set forth in the time reports. PSZJ’s charges for its professional services are based

upon the time, nature, extent and value of such services and the cost of comparable services other

than in a case under the Bankruptcy Code. To the extent it is feasible, PSZJ professionals attempt

to work during travel.

                                      Actual and Necessary Expenses

                 7.          A summary of the actual and necessary expenses incurred by PSZJ for the

Interim Period is attached hereto as part of Exhibit A. PSZJ customarily charges $0.10 per page

for photocopying expenses related to cases, such as this, arising in Delaware.                PSZJ’s

photocopying machines automatically record the number of copies made when the person that is

doing the copying enters the client’s account number into a device attached to the photocopier.

PSZJ summarizes each client’s photocopying charges on a daily basis.

                 8.          PSZJ charges $0.25 per page for out-going facsimile transmissions. There

is no additional charge for long distance telephone calls on faxes. The charge for outgoing

facsimile transmissions reflects PSZJ’s calculation of the actual costs incurred by PSZJ for the

machines, supplies and extra labor expenses associated with sending telecopies and is reasonable



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in relation to the amount charged by outside vendors who provide similar services. PSZJ does not

charge the Debtor for the receipt of faxes in this case.

                 9.          With respect to providers of on-line legal research services (e.g., LEXIS and

WESTLAW), PSZJ charges the standard usage rates these providers charge for computerized legal

research. PSZJ bills its clients the actual amounts charged by such services, with no premium.

Any volume discount received by PSZJ is passed on to the client.

                 10.         PSZJ believes the foregoing rates are the market rates that the majority of

law firms charge clients for such services. In addition, PSZJ believes that such charges are in

accordance with the American Bar Association’s (“ABA”) guidelines, as set forth in the ABA’s

Statement of Principles, dated January 12, 1995, regarding billing for disbursements and other

charges.

                                       Summary of Services Rendered

                 11.         The names of the timekeepers of PSZJ who have rendered professional

services in this case during the Interim Period are set forth in the attached Exhibit A. PSZJ, by

and through such persons, has prepared and assisted in the preparation of various motions and

orders submitted to the Court for consideration, advised the Debtor on a regular basis with respect

to various matters in connection with the Debtor’s case, and performed all necessary professional

services which are described and narrated in detail below. PSZJ’s efforts have been extensive due

to the size and complexity of the Debtor’s case.




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                                     Summary of Services by Project

                 12.         The services rendered by PSZJ during the Interim Period can be grouped

into the categories set forth below. PSZJ attempted to place the services provided in the category

that best relates to such services. However, because certain services may relate to one or more

categories, services pertaining to one category may in fact be included in another category. These

services performed, by categories, are generally described below, with a more detailed

identification of the actual services provided set forth on the attached Exhibit A. Exhibit A

identifies the attorneys and paraprofessionals who rendered services relating to each category,

along with the number of hours for each individual and the total compensation sought for each

category.

A.      Asset Disposition

                 13.         During the Interim Period, the Firm, among other things, reviewed

correspondence relating to the sale of miscellaneous assets and collection of receivables.

                             Fees: $4,570.00             Hours: 4.00

B.      Bankruptcy Litigation

                 14.         During the Interim Period, the Firm, among other things, reviewed the

Montpelier 9019 motion, conferred with Committee professionals regarding litigation, and

investigative interviews.

                             Fees: $16,062.50            Hours: 13.50




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C.      Case Administration

                 15.         During the Interim Period, the Firm, among other things, reviewed

correspondence and pleadings and forwarded them to appropriate parties, and reviewed and

followed up on various open case issues.

                             Fees: $5,452.o0               Hours: 7.60

D.      Claims Administration/ Objection

                 16.         During the Interim Period, the Firm, among other things, conferred with

parties regarding Madison claim issues.

                             Fees: $159.50                 Hours: .10

E.      Compensation of Professionals

                 17.         During the Interim Period, the Firm, among other things, prepared its fifth

monthly fee application.

                             Fees: $2,554.00               Hours: 3.20

F.      Compensation of Professionals / Other

                 18.         During the Interim Period, the Firm, among other things, reviewed monthly

fee applications filed by the Debtor’s professionals.

                             Fees: $1,075.00                      Hours: 1.00

G.      Executory Contracts

                 19.         During the Interim period, the Firm, among other things, reviewed and

analyzed a sublease extension and RSM contracts.

                             Fees: $2,628.00                      Hours: 2.40



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H.      Financial Filings

                  20.        During the Interim period, the Firm, among other things, reviewed the

Debtor’s monthly operating report.

                             Fees: $438.00                Hours: .40

I.      Financing

                  21.        During the Interim Period, the Firm, among other things, reviewed updated

cash balance reconciliation.

                             Fees: $518.00                Hours: .40

J.      Operations

                  22.        During the Interim Period, the Firm, among other things, reviewed various

operational reports, including but not limited to accounts receivable aging, cash flow and

reconciliation.

                             Fees: $1,276.00              Hours: .80

K.      Plan and Disclosure Statement

                  23.        During the Interim Period, the Firm, among other things, reviewed the

Debtor’s revised combined disclosure statement and plan of liquidation, and conferred with

counsel on timing issues in connection with confirmation, and reviewed the Debtors’ motion to

extend plan filing exclusivity.

                             Fees: $37,948.00             Hours: 32.40




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                                             Valuation of Services

                 24.         Attorneys and paraprofessionals of PSZJ expended a total 65.80 hours in

connection with their representation of the Committee during the Interim Period, as follows:

                                                                         Hourly     Total
 Name of Professional Position of the Applicant, Year                                           Total
                                                                          Billing   Hours
     Individual       of Obtaining License to Practice                                       Compensation
                                                                           Rate     Billed
 Bradford J. Sandler             Partner 1996                           $1,595.00    5.60        $8,932.00
 Paul John Labov                 Partner, 2002                          $1,295.00   11.50       $14,892.50
 Colin R. Robinson               Counsel 2012                           $1,095.00   40.90       $44,785.50
 Ian Densmore                    Paralegal                               $545.00     4.70        $2,561.50
 Patricia J. Jeffries            Paralegal                               $545.00     1.60          $872.00
 Karen S. Neil                   Case Management Assistant               $425.00     1.50          $637.50

                                    Grand Total:          $$72,681.00
                                    Total Hours:                65.80
                                    Blended Rate:           $1,104.57


                 25.         The nature of work performed by these persons is fully set forth in

Exhibit A attached hereto. These are PSZJ’s normal hourly rates for work of this character. The

reasonable value of the services rendered by PSZJ for the Committee during the Interim Period is

$72,681.00.

                 26.         In accordance with the factors enumerated in section 330 of the Bankruptcy

Code, it is respectfully submitted that the amount requested by PSZJ is fair and reasonable given

(a) the complexity of this case, (b) the time expended, (c) the nature and extent of the services

rendered, (d) the value of such services, and (e) the costs of comparable services other than in a

case under the Bankruptcy Code. Moreover, PSZJ has reviewed the requirements of Del. Bankr.




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LR 2016-2 and the Administrative Order and believes that this Application complies with such

Rule and Order.

                 WHEREFORE, PSZJ respectfully requests that, for the period of January 1, 2023

through January 31, 2023, (i) an interim allowance be made to PSZJ for compensation in the

amount $72,681.00 and actual and necessary expenses in the amount of $71.34 for a total

allowance of $72,752.34 and (ii) payment of $58,144.80 (80% of the allowed fees pursuant to the

Administrative Order) and reimbursement of $71.34 (100% of the allowed expenses pursuant to

the Compensation Procedures Order) for a total payment of $58,216.14, and for such other and

further relief as this Court may deem just and proper.

Dated: March 13, 2023                        PACHULSKI STANG ZIEHL & JONES LLP

                                             /s/ Colin R. Robinson
                                             Robert J. Feinstein (admitted pro hac vice)
                                             Bradford J. Sandler (DE Bar No. 4142)
                                             Colin R. Robinson (DE Bar No. 5524)
                                             919 N. Market Street, 17th Floor
                                             Wilmington, DE 19801
                                             Telephone: (302) 652-4100
                                             Facsimile: (302) 652-4400
                                             Email: rfeinstein@pszjlaw.com
                                                     bsandler@pszjlaw.com
                                                     crobinson@pszjlaw.com


                                             Counsel to the Official Committee of Unsecured
                                             Creditors




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                                              DECLARATION

STATE OF DELAWARE    :
                     :
COUNTY OF NEW CASTLE :


                 Bradford J. Sandler, after being duly sworn according to law, deposes and says:

                 a)          I am a partner with the applicant law firm Pachulski Stang Ziehl & Jones

LLP, and am admitted to appear before this Court.

                 b)          I am familiar with the legal services rendered by PSZJ as counsel to the

Committee.

                 c)          I have reviewed the foregoing Application and the facts set forth therein are

true and correct to the best of my knowledge, information and belief. Moreover, I have reviewed

Del. Bankr. LR 2016-2, the Administrative Order signed on or about August 3, 2022 and submit

that the Application substantially complies with such rule and orders.

                                                           /s/ Bradford J. Sandler
                                                           Bradford J. Sandler




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                                         EXHIBIT A
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                                 Pachulski Stang Ziehl & Jones LLP
                                         919 North Market Street
                                              17th Floor
                                         Wilmington, DE 19801
                                                                   March 09, 2023
CRR                                                                Invoice 131953
                                                                   Client   02312
                                                                   Matter   00002
                                                                            CRR

RE: Committee Representation



         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 01/31/2023
               FEES                                                 $72,681.00
               EXPENSES                                                $71.34
               TOTAL CURRENT CHARGES                                $72,752.34

               BALANCE FORWARD                                     $319,733.46
               A/R Adjustments                                     -$25,405.34
               TOTAL BALANCE DUE                                   $367,080.46
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Agway Farms O.C.C.                                                        Prebill#300197
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  Summary of Services by Professional
  ID        Name                            Title               Rate       Hours              Amount
 BJS        Sandler, Bradford J.            Partner           1595.00       5.60            $8,932.00

 CRR        Robinson, Colin R.              Counsel           1095.00      40.90           $44,785.50

 IDD        Densmore, Ian                   Paralegal          545.00       4.70            $2,561.50

 KSN        Neil, Karen S.                  Case Man. Asst.    425.00       1.50             $637.50

 PJJ        Jeffries, Patricia J.           Paralegal          545.00       1.60             $872.00

 PJL        Labov, Paul John                Partner           1295.00      11.50           $14,892.50

                                                                          65.80            $72,681.00
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  Summary of Services by Task Code
  Task Code         Description                                    Hours                       Amount

 AD                 Asset Disposition [B130]                         4.00                     $4,570.00

 BL                 Bankruptcy Litigation [L430]                    13.50                    $16,062.50

 CA                 Case Administration [B110]                       7.60                     $5,452.00

 CO                 Claims Admin/Objections[B310]                    0.10                      $159.50

 CP                 Compensation Prof. [B160]                        3.20                     $2,554.00

 CPO                Comp. of Prof./Others                            1.00                     $1,075.00

 EC                 Executory Contracts [B185]                       2.40                     $2,628.00

 FF                 Financial Filings [B110]                         0.40                      $438.00

 FN                 Financing [B230]                                 0.40                      $518.00

 OP                 Operations [B210]                                0.80                     $1,276.00

 PD                 Plan & Disclosure Stmt. [B320]                  32.40                    $37,948.00

                                                                    65.80                    $72,681.00
                   Case
                    Case22-10602-JKS
                         22-10602-JKS Doc
                                       Doc777-2
                                           549 Filed
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Agway Farms O.C.C.                                                       Prebill#300197
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  Summary of Expenses
  Description                                                                         Amount
Conference Call [E105]                                                                    $2.44
Pacer - Court Research                                                                $14.90
Reproduction/ Scan Copy                                                               $54.00

                                                                                      $71.34
                     Case
                      Case22-10602-JKS
                           22-10602-JKS Doc
                                         Doc777-2
                                             549 Filed
                                                  Filed03/13/23
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Agway Farms O.C.C.                                                                                Prebill#300197
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                                                                                         Hours            Rate      Amount
  Asset Disposition [B130]
 CRR          01/06/2023              AD                 0.40           0.40        1,095.00                       438.00
  Bill

 01/06/2023    CRR     AD       Confer w/ Debtor's counsel re proposed                     0.40      1095.00         $438.00
                                abandonment of laptops and related tech.
 CRR          01/11/2023              AD                 0.80           0.80        1,095.00                       876.00
  Bill

 01/11/2023    CRR     AD       Review, respond to Debtor re proposed                      0.80      1095.00         $876.00
                                abandonment of laptops, other items.
 CRR          01/12/2023              AD                 0.90           0.90        1,095.00                       985.50
  Bill

 01/12/2023    CRR     AD       Review Debtor motion, settlement re large                  0.90      1095.00         $985.50
                                receivable and email to FTI.
 CRR          01/16/2023              AD                 0.40           0.40        1,095.00                       438.00
  Bill

 01/16/2023    CRR     AD       Review Debtor update re transfer of abandoned              0.40      1095.00         $438.00
                                laptops and related costs.
 CRR          01/17/2023              AD                 0.30           0.30        1,095.00                       328.50
  Bill

 01/17/2023    CRR     AD       Review proposed sale of pallets and email to FTI.          0.30      1095.00         $328.50
 PJL          01/17/2023              AD                 0.30           0.30        1,295.00                       388.50
  Bill

 01/17/2023    PJL     AD       Review correspondence on sale of miscellaneous             0.30      1295.00         $388.50
                                assets.
 BJS          01/18/2023              AD                 0.10           0.10        1,595.00                       159.50
  Bill

 01/18/2023    BJS     AD       Various emails with FTI regarding a/r settlement           0.10      1595.00         $159.50
 CRR          01/18/2023              AD                 0.20           0.20        1,095.00                       219.00
  Bill

 01/18/2023    CRR     AD       Update Debtor re consent to proposed account               0.20      1095.00         $219.00
                                receivable settlement.
                     Case
                      Case22-10602-JKS
                           22-10602-JKS Doc
                                         Doc777-2
                                             549 Filed
                                                  Filed03/13/23
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                                                                                        Hours            Rate        Amount
 PJL          01/18/2023              AD                 0.40           0.40       1,295.00                        518.00
  Bill

 01/18/2023    PJL     AD       Review correspondence on accounts receivable              0.40      1295.00          $518.00
                                collection and discuss same with FTI and C.
                                Robinson.
 CRR          01/19/2023              AD                 0.20           0.20       1,095.00                        219.00
  Bill

 01/19/2023    CRR     AD       Emails with Debtor re withdrawal of notice to             0.20      1095.00          $219.00
                                abandon laptops.
                                                                                          4.00                      $4,570.00

  Bankruptcy Litigation [L430]
 BJS          01/03/2023              BL                 0.10           0.10       1,595.00                        159.50
  Bill

 01/03/2023    BJS     BL       Various emails with JP Eldred regarding                   0.10      1595.00          $159.50
                                Altman/Quickell
 CRR          01/03/2023              BL                 1.10           1.10       1,095.00                       1,204.50
  Bill

 01/03/2023    CRR     BL       Review update from FTI re litigation related              1.10      1095.00         $1,204.50
                                interviews and update notes re litigation.
 PJL          01/03/2023              BL                 0.60           0.60       1,295.00                        777.00
  Bill

 01/03/2023    PJL     BL       Review update on Debtor interviews with FA and            0.60      1295.00          $777.00
                                internal discussion on same.
 CRR          01/04/2023              BL                 1.80           1.80       1,095.00                       1,971.00
  Bill

 01/04/2023    CRR     BL       Telephone conference with FTI team re litigation          1.80      1095.00         $1,971.00
                                updates and review, update internal notes.
 BJS          01/06/2023              BL                 0.50           0.50       1,595.00                        797.50
  Bill

 01/06/2023    BJS     BL       Call with FTI regarding investigation                     0.50      1595.00          $797.50
 BJS          01/09/2023              BL                 0.40           0.40       1,595.00                        638.00
  Bill

 01/09/2023    BJS     BL       Attention to Altman/Quickel interviews                    0.40      1595.00          $638.00
                     Case
                      Case22-10602-JKS
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                                             549 Filed
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                                                                                        Hours            Rate        Amount
 CRR          01/09/2023              BL                  2.20          2.20       1,095.00                       2,409.00
  Bill

 01/09/2023    CRR     BL       Analysis, review re litigation against RSM.               2.20      1095.00         $2,409.00
 CRR          01/09/2023              BL                  0.80          0.80       1,095.00                        876.00
  Bill

 01/09/2023    CRR     BL       Review litigation interview notes from FTI.               0.80      1095.00          $876.00
 CRR          01/09/2023              BL                  1.00          1.00       1,095.00                       1,095.00
  Bill

 01/09/2023    CRR     BL       Review, analysis re possible causes of action.            1.00      1095.00         $1,095.00
 PJL          01/09/2023              BL                  1.80          1.80       1,295.00                       2,331.00
  Bill

 01/09/2023    PJL     BL       Review litigation notes and discuss same with             1.80      1295.00         $2,331.00
                                internal team.
 BJS          01/11/2023              BL                  0.30          0.30       1,595.00                        478.50
  Bill

 01/11/2023    BJS     BL       Review 9019 motion; Various emails with M Casal           0.30      1595.00          $478.50
                                regarding same
 BJS          01/24/2023              BL                  0.30          0.30       1,595.00                        478.50
  Bill

 01/24/2023    BJS     BL       Review Montpelier motion                                  0.30      1595.00          $478.50
 CRR          01/26/2023              BL                  1.80          1.80       1,095.00                       1,971.00
  Bill

 01/26/2023    CRR     BL       Litigation research.                                      1.80      1095.00         $1,971.00
 CRR          01/31/2023              BL                  0.80          0.80       1,095.00                        876.00
  Bill

 01/31/2023    CRR     BL       Review re removal deadline and email w/ Debtor's          0.80      1095.00          $876.00
                                counsel.
                                                                                         13.50                     $16,062.50
                     Case
                      Case22-10602-JKS
                           22-10602-JKS Doc
                                         Doc777-2
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                                                                                   Hours            Rate      Amount
  Case Administration [B110]
 IDD          01/03/2023             CA                 0.20        0.20        545.00                       109.00
  Bill

 01/03/2023    IDD     CA       Review docket to update Critical Dates               0.20       545.00         $109.00
                                Memorandum (.1); advise attorneys of upcoming
                                deadlines (.1)
 KSN          01/03/2023             CA                 0.20        0.20        425.00                        85.00
  Bill

 01/03/2023    KSN     CA       Maintain document control.                           0.20       425.00          $85.00
 IDD          01/04/2023             CA                 0.20        0.20        545.00                       109.00
  Bill

 01/04/2023    IDD     CA       Review docket to update Critical Dates               0.20       545.00         $109.00
                                Memorandum (.1); advise attorneys of upcoming
                                deadlines (.1)
 KSN          01/04/2023             CA                 0.10        0.10        425.00                        42.50
  Bill

 01/04/2023    KSN     CA       Maintain document control.                           0.10       425.00          $42.50
 IDD          01/05/2023             CA                 0.20        0.20        545.00                       109.00
  Bill

 01/05/2023    IDD     CA       Review docket to update Critical Dates               0.20       545.00         $109.00
                                Memorandum (.1); advise attorneys of upcoming
                                deadlines (.1)
 KSN          01/05/2023             CA                 0.20        0.20        425.00                        85.00
  Bill

 01/05/2023    KSN     CA       Maintain document control.                           0.20       425.00          $85.00
 IDD          01/06/2023             CA                 0.20        0.20        545.00                       109.00
  Bill

 01/06/2023    IDD     CA       Review docket to update Critical Dates               0.20       545.00         $109.00
                                Memorandum (.1); advise attorneys of upcoming
                                deadlines (.1)
 KSN          01/06/2023             CA                 0.20        0.20        425.00                        85.00
  Bill

 01/06/2023    KSN     CA       Maintain document control.                           0.20       425.00          $85.00
 IDD          01/09/2023             CA                 0.30        0.30        545.00                       163.50
                     Case
                      Case22-10602-JKS
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                                                                                     Hours            Rate        Amount
  Bill

 01/09/2023    IDD     CA       Review docket to update Critical Dates                 0.30       545.00          $163.50
                                Memorandum (.2); advise attorneys of upcoming
                                deadlines (.1)
 KSN          01/10/2023              CA                 0.10         0.10       425.00                          42.50
  Bill

 01/10/2023    KSN     CA       Maintain document control.                             0.10       425.00            $42.50
 IDD          01/11/2023              CA                 0.20         0.20       545.00                         109.00
  Bill

 01/11/2023    IDD     CA       Review docket to update Critical Dates                 0.20       545.00          $109.00
                                Memorandum (.1); advise attorneys of upcoming
                                deadlines (.1)
 IDD          01/12/2023              CA                 0.20         0.20       545.00                         109.00
  Bill

 01/12/2023    IDD     CA       Review docket to update Critical Dates                 0.20       545.00          $109.00
                                Memorandum (.1); advise attorneys of upcoming
                                deadlines (.1)
 IDD          01/13/2023              CA                 0.20         0.20       545.00                         109.00
  Bill

 01/13/2023    IDD     CA       Review docket to update Critical Dates                 0.20       545.00          $109.00
                                Memorandum (.1); advise attorneys of upcoming
                                deadlines (.1)
 KSN          01/13/2023              CA                 0.10         0.10       425.00                          42.50
  Bill

 01/13/2023    KSN     CA       Maintain document control.                             0.10       425.00            $42.50
 PJL          01/13/2023              CA                 0.80         0.80      1,295.00                       1,036.00
  Bill

 01/13/2023    PJL     CA       Follow up on various open issues, including            0.80      1295.00         $1,036.00
                                litigation and plan.
 IDD          01/17/2023              CA                 0.20         0.20       545.00                         109.00
  Bill

 01/17/2023    IDD     CA       Review docket to update Critical Dates                 0.20       545.00          $109.00
                                Memorandum (.1); advise attorneys of upcoming
                                deadlines (.1)
 IDD          01/18/2023              CA                 0.20         0.20       545.00                         109.00
                     Case
                      Case22-10602-JKS
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                                                                                       Hours            Rate      Amount
  Bill

 01/18/2023    IDD     CA       Review docket to update Critical Dates                   0.20       545.00         $109.00
                                Memorandum (.1); advise attorneys of upcoming
                                deadlines (.1)
 KSN          01/18/2023              CA                 0.10         0.10         425.00                         42.50
  Bill

 01/18/2023    KSN     CA       Maintain document control.                               0.10       425.00          $42.50
 KSN          01/19/2023              CA                 0.10         0.10         425.00                         42.50
  Bill

 01/19/2023    KSN     CA       Maintain document control.                               0.10       425.00          $42.50
 IDD          01/20/2023              CA                 0.20         0.20         545.00                        109.00
  Bill

 01/20/2023    IDD     CA       Review docket to update Critical Dates                   0.20       545.00         $109.00
                                Memorandum (.1); advise attorneys of upcoming
                                deadlines (.1)
 PJL          01/20/2023              CA                 0.60         0.60        1,295.00                       777.00
  Bill

 01/20/2023    PJL     CA       Review open issues and discuss with B. Sandler.          0.60      1295.00         $777.00
 IDD          01/23/2023              CA                 0.20         0.20         545.00                        109.00
  Bill

 01/23/2023    IDD     CA       Review docket to update Critical Dates                   0.20       545.00         $109.00
                                Memorandum (.1); advise attorneys of upcoming
                                deadlines (.1)
 KSN          01/23/2023              CA                 0.10         0.10         425.00                         42.50
  Bill

 01/23/2023    KSN     CA       Maintain document control.                               0.10       425.00          $42.50
 IDD          01/24/2023              CA                 0.20         0.20         545.00                        109.00
  Bill

 01/24/2023    IDD     CA       Review docket to update Critical Dates                   0.20       545.00         $109.00
                                Memorandum (.1); circulate same to Debtors'
                                professionals (.1)
 KSN          01/24/2023              CA                 0.20         0.20         425.00                         85.00
  Bill

 01/24/2023    KSN     CA       Maintain document control.                               0.20       425.00          $85.00
                     Case
                      Case22-10602-JKS
                           22-10602-JKS Doc
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Agway Farms O.C.C.                                                                             Prebill#300197
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                                                                                      Hours            Rate      Amount
 IDD          01/25/2023              CA                0.30         0.30         545.00                        163.50
  Bill

 01/25/2023    IDD     CA       Review docket to update Critical Dates                  0.30       545.00         $163.50
                                Memorandum (.2); advise attorneys of upcoming
                                deadlines (.1)
 IDD          01/26/2023              CA                0.30         0.30         545.00                        163.50
  Bill

 01/26/2023    IDD     CA       Review docket to update Critical Dates                  0.30       545.00         $163.50
                                Memorandum (.2); advise attorneys of upcoming
                                deadlines (.1)
 IDD          01/27/2023              CA                0.20         0.20         545.00                        109.00
  Bill

 01/27/2023    IDD     CA       Review docket to update Critical Dates                  0.20       545.00         $109.00
                                Memorandum (.1); advise attorneys of upcoming
                                deadlines (.1)
 IDD          01/30/2023              CA                0.20         0.20         545.00                        109.00
  Bill

 01/30/2023    IDD     CA       Review docket to update Critical Dates                  0.20       545.00         $109.00
                                Memorandum (.1); advise attorneys of upcoming
                                deadlines (.1)
 KSN          01/30/2023              CA                0.10         0.10         425.00                         42.50
  Bill

 01/30/2023    KSN     CA       Maintain document control.                              0.10       425.00          $42.50
 IDD          01/31/2023              CA                0.20         0.20         545.00                        109.00
  Bill

 01/31/2023    IDD     CA       Review docket to update Critical Dates                  0.20       545.00         $109.00
                                Memorandum (.1); advise attorneys of upcoming
                                deadlines (.1)
 CRR          01/31/2023              CA                0.80         0.80        1,095.00                       876.00
  Bill

 01/31/2023    CRR     CA       Follow-up telephonic meeting with PSZJ team re          0.80      1095.00         $876.00
                                appeal, next steps.
                                                                                        7.60                    $5,452.00

  Claims Admin/Objections[B310]
 BJS          01/13/2023              CO                0.10         0.10        1,595.00                       159.50
                     Case
                      Case22-10602-JKS
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                                                                                         Hours            Rate      Amount
  Bill

 01/13/2023    BJS     CO       Teleconference with R Maxwell regarding                    0.10      1595.00         $159.50
                                Madison/claim
                                                                                           0.10                      $159.50

  Compensation Prof. [B160]
 IDD          01/19/2023              CP                  0.40         0.40          545.00                        218.00
  Bill

 01/19/2023    IDD     CP       File PSZJ 4th Monthly Fee Application with the             0.40       545.00         $218.00
                                Court (.3); serve same on required parties (.1)
 BJS          01/19/2023              CP                  0.30         0.30         1,595.00                       478.50
  Bill

 01/19/2023    BJS     CP       Review and Revise PSZJ fee application                     0.30      1595.00         $478.50
 CRR          01/19/2023              CP                  0.20         0.20         1,095.00                       219.00
  Bill

 01/19/2023    CRR     CP       Review PSZJ invoice.                                       0.20      1095.00         $219.00
 CRR          01/19/2023              CP                  0.30         0.30         1,095.00                       328.50
  Bill

 01/19/2023    CRR     CP       Review status re fee applications.                         0.30      1095.00         $328.50
 CRR          01/19/2023              CP                  0.40         0.40         1,095.00                       438.00
  Bill

 01/19/2023    CRR     CP       Confer w/ IDensmore re filing of fee applications          0.40      1095.00         $438.00
                                and review, finalize.
 PJJ          01/31/2023              CP                  1.60         1.60          545.00                        872.00
  Bill

 01/31/2023    PJJ     CP       Draft December fee statement.                              1.60       545.00         $872.00
                                                                                           3.20                    $2,554.00

  Comp. of Prof./Others
 CRR          01/03/2023              CPO                 0.20         0.20         1,095.00                       219.00
  Bill

 01/03/2023    CRR     CPO      Review OCP statement filed by Debtor.                      0.20      1095.00         $219.00
 BJS          01/05/2023              CPO                 0.10         0.10         1,595.00                       159.50
                     Case
                      Case22-10602-JKS
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Agway Farms O.C.C.                                                                                  Prebill#300197
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                                                                                           Hours            Rate        Amount
  Bill

 01/05/2023    BJS     CPO      Review SBF fee application                                   0.10      1595.00          $159.50
 IDD          01/19/2023              CPO                0.40         0.40             545.00                         218.00
  Bill

 01/19/2023    IDD     CPO      File FTI 4th Monthly Fee Application with the Court          0.40       545.00          $218.00
                                (.3); serve same on required parties (.1)
 BJS          01/19/2023              CPO                0.10         0.10            1,595.00                        159.50
  Bill

 01/19/2023    BJS     CPO      Review FTI fee application                                   0.10      1595.00          $159.50
 BJS          01/19/2023              CPO                0.10         0.10            1,595.00                        159.50
  Bill

 01/19/2023    BJS     CPO      Review RKE fee application                                   0.10      1595.00          $159.50
 BJS          01/20/2023              CPO                0.10         0.10            1,595.00                        159.50
  Bill

 01/20/2023    BJS     CPO      Review Friedman supplement declaration                       0.10      1595.00          $159.50
                                                                                             1.00                      $1,075.00

  Executory Contracts [B185]
 CRR          01/03/2023              EC                 0.70         0.70            1,095.00                        766.50
  Bill

 01/03/2023    CRR     EC       Emails with Debtor's counsel re amendment to                 0.70      1095.00          $766.50
                                Richmond sublease and review amendment.
 CRR          01/04/2023              EC                 0.20         0.20            1,095.00                        219.00
  Bill

 01/04/2023    CRR     EC       Email to Debtor's counsel re COC, lease extension.           0.20      1095.00          $219.00
 CRR          01/12/2023              EC                 1.50         1.50            1,095.00                       1,642.50
  Bill

 01/12/2023    CRR     EC       Review RSM contracts, agreements.                            1.50      1095.00         $1,642.50
                                                                                             2.40                      $2,628.00
                     Case
                      Case22-10602-JKS
                           22-10602-JKS Doc
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Agway Farms O.C.C.                                                                             Prebill#300197
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                                                                                      Hours            Rate        Amount
  Financial Filings [B110]
 CRR          01/23/2023              FF                  0.40       0.40        1,095.00                        438.00
  Bill

 01/23/2023    CRR     FF       Review MOR.                                             0.40      1095.00          $438.00
                                                                                        0.40                       $438.00

  Financing [B230]
 PJL          01/30/2023              FN                  0.40       0.40        1,295.00                        518.00
  Bill

 01/30/2023    PJL     FN       Review updated cash balance reconciliation and          0.40      1295.00          $518.00
                                discuss same with B. Sandler.
                                                                                        0.40                       $518.00

  Operations [B210]
 BJS          01/04/2023              OP                  0.10       0.10        1,595.00                        159.50
  Bill

 01/04/2023    BJS     OP       Review COC regarding office lease                       0.10      1595.00          $159.50
 BJS          01/12/2023              OP                  0.10       0.10        1,595.00                        159.50
  Bill

 01/12/2023    BJS     OP       Review A/R aging report                                 0.10      1595.00          $159.50
 BJS          01/20/2023              OP                  0.30       0.30        1,595.00                        478.50
  Bill

 01/20/2023    BJS     OP       Attention to cash flow schedules                        0.30      1595.00          $478.50
 BJS          01/30/2023              OP                  0.30       0.30        1,595.00                        478.50
  Bill

 01/30/2023    BJS     OP       Review FTI Report regarding cash                        0.30      1595.00          $478.50
                                reconciliation/bridge
                                                                                        0.80                      $1,276.00

  Plan & Disclosure Stmt. [B320]
 CRR          01/03/2023              PD                  3.10       3.10        1,095.00                       3,394.50
  Bill

 01/03/2023    CRR     PD       Revise Plan per comments received.                      3.10      1095.00         $3,394.50
                     Case
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                           22-10602-JKS Doc
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                                                                                          Hours            Rate        Amount
 CRR          01/04/2023              PD                  2.70          2.70         1,095.00                       2,956.50
  Bill

 01/04/2023    CRR     PD       Further research re plan releases.                          2.70      1095.00         $2,956.50
 CRR          01/05/2023              PD                  3.10          3.10         1,095.00                       3,394.50
  Bill

 01/05/2023    CRR     PD       Revise plan re release provisions and compare to            3.10      1095.00         $3,394.50
                                other recent plans.
 PJL          01/05/2023              PD                  0.80          0.80         1,295.00                       1,036.00
  Bill

 01/05/2023    PJL     PD       Review plan and disclosure statement and timing on          0.80      1295.00         $1,036.00
                                same.
 PJL          01/05/2023              PD                  1.30          1.30         1,295.00                       1,683.50
  Bill

 01/05/2023    PJL     PD       Internal discussion regarding plan timing, claims,          1.30      1295.00         $1,683.50
                                plan administrator and trust.
 PJL          01/09/2023              PD                  0.60          0.60         1,295.00                        777.00
  Bill

 01/09/2023    PJL     PD       Further review of timing on plan and disclosure             0.60      1295.00          $777.00
                                statement.
 CRR          01/12/2023              PD                  1.20          1.20         1,095.00                       1,314.00
  Bill

 01/12/2023    CRR     PD       Revise draft plan.                                          1.20      1095.00         $1,314.00
 CRR          01/13/2023              PD                  1.40          1.40         1,095.00                       1,533.00
  Bill

 01/13/2023    CRR     PD       Revise Plan provisions re Plan Administrator.               1.40      1095.00         $1,533.00
 BJS          01/18/2023              PD                  0.20          0.20         1,595.00                        319.00
  Bill

 01/18/2023    BJS     PD       Teleconference with CR regarding plan                       0.20      1595.00          $319.00
 BJS          01/20/2023              PD                  0.50          0.50         1,595.00                        797.50
  Bill

 01/20/2023    BJS     PD       Teleconference with S Balasiano regarding plan              0.50      1595.00          $797.50
                                issues
 CRR          01/20/2023              PD                  2.00          2.00         1,095.00                       2,190.00
                     Case
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                                                                                           Hours            Rate        Amount
  Bill

 01/20/2023    CRR     PD       Plan revisions re releases and review recent J.              2.00      1095.00         $2,190.00
                                Stickles confirmation orders.
 CRR          01/20/2023              PD                  0.60          0.60          1,095.00                        657.00
  Bill

 01/20/2023    CRR     PD       Confer with potential plan administrator and revise          0.60      1095.00          $657.00
                                plan provisions re plan administrator.
 BJS          01/23/2023              PD                  1.50          1.50          1,595.00                       2,392.50
  Bill

 01/23/2023    BJS     PD       Review revised plan                                          1.50      1595.00         $2,392.50
 CRR          01/23/2023              PD                  1.00          1.00          1,095.00                       1,095.00
  Bill

 01/23/2023    CRR     PD       Finalize draft plan and send to BSandler, PLabov.            1.00      1095.00         $1,095.00
 CRR          01/23/2023              PD                  0.30          0.30          1,095.00                        328.50
  Bill

 01/23/2023    CRR     PD       Review proposed Plan Administrator CV.                       0.30      1095.00          $328.50
 PJL          01/23/2023              PD                  0.40          0.40          1,295.00                        518.00
  Bill

 01/23/2023    PJL     PD       Review revised plan.                                         0.40      1295.00          $518.00
 PJL          01/24/2023              PD                  0.40          0.40          1,295.00                        518.00
  Bill

 01/24/2023    PJL     PD       Conference with B. Sandler regarding timing on               0.40      1295.00          $518.00
                                plan confirmation.
 CRR          01/25/2023              PD                  1.40          1.40          1,095.00                       1,533.00
  Bill

 01/25/2023    CRR     PD       Revise Plan.                                                 1.40      1095.00         $1,533.00
 CRR          01/25/2023              PD                  0.40          0.40          1,095.00                        438.00
  Bill

 01/25/2023    CRR     PD       Discuss exclusivity, plan status with Debtor's               0.40      1095.00          $438.00
                                counsel.
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                                                                                            Hours            Rate        Amount
 CRR          01/26/2023              PD                  1.20          1.20           1,095.00                       1,314.00
  Bill

 01/26/2023    CRR     PD       Further Plan revisions.                                       1.20      1095.00         $1,314.00
 PJL          01/26/2023              PD                  0.70          0.70           1,295.00                        906.50
  Bill

 01/26/2023    PJL     PD       Review correspondence on exclusivity and discuss              0.70      1295.00          $906.50
                                same with B. Sandler.
 CRR          01/27/2023              PD                  0.30          0.30           1,095.00                        328.50
  Bill

 01/27/2023    CRR     PD       Plan discussion with BSandler and PLabov.                     0.30      1095.00          $328.50
 CRR          01/27/2023              PD                  1.70          1.70           1,095.00                       1,861.50
  Bill

 01/27/2023    CRR     PD       Revise Plan re trust reserve, plan adminstrator.              1.70      1095.00         $1,861.50
 PJL          01/27/2023              PD                  0.80          0.80           1,295.00                       1,036.00
  Bill

 01/27/2023    PJL     PD       Conference with B. Sandler regarding plan                     0.80      1295.00         $1,036.00
                                administrator privilege.
 BJS          01/30/2023              PD                  0.10          0.10           1,595.00                        159.50
  Bill

 01/30/2023    BJS     PD       Review exclusivity motion                                     0.10      1595.00          $159.50
 CRR          01/30/2023              PD                  0.80          0.80           1,095.00                        876.00
  Bill

 01/30/2023    CRR     PD       Review issues re exclusivity and respond to Debtor's          0.80      1095.00          $876.00
                                counsel.
 CRR          01/30/2023              PD                  2.30          2.30           1,095.00                       2,518.50
  Bill

 01/30/2023    CRR     PD       Revise Plan further and send to BSandler, PLabov.             2.30      1095.00         $2,518.50
 PJL          01/30/2023              PD                  1.60          1.60           1,295.00                       2,072.00
  Bill

 01/30/2023    PJL     PD       Review revised plan and discuss same with C.                  1.60      1295.00         $2,072.00
                                Robinson.
                                                                                             32.40                     $37,948.00
                   Case
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  TOTAL SERVICES FOR THIS MATTER:                                                     $72,681.00
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 Expenses
  CC           12/12/2022                                 $2.44
   Bill
 12/12/2022   CC         Conference Call [E105] AT&T Conference Call, CRR       2.44
  RE2          01/03/2023                                 $5.90
   Bill
 01/03/2023   RE2        SCAN/COPY ( 59 @0.10 PER PG)                           5.90
  RE2          01/03/2023                                 $0.40
   Bill
 01/03/2023   RE2        SCAN/COPY ( 4 @0.10 PER PG)                            0.40
  RE2          01/03/2023                                 $0.60
   Bill
 01/03/2023   RE2        SCAN/COPY ( 6 @0.10 PER PG)                            0.60
  RE2          01/03/2023                                 $1.20
   Bill
 01/03/2023   RE2        SCAN/COPY ( 12 @0.10 PER PG)                           1.20
  RE2          01/04/2023                                 $0.20
   Bill
 01/04/2023   RE2        SCAN/COPY ( 2 @0.10 PER PG)                            0.20
  RE2          01/04/2023                                 $0.30
   Bill
 01/04/2023   RE2        SCAN/COPY ( 3 @0.10 PER PG)                            0.30
  RE2          01/04/2023                                 $1.10
   Bill
 01/04/2023   RE2        SCAN/COPY ( 11 @0.10 PER PG)                           1.10
  RE2          01/04/2023                                 $0.60
   Bill
 01/04/2023   RE2        SCAN/COPY ( 6 @0.10 PER PG)                            0.60
  RE2          01/05/2023                                 $0.50
   Bill
 01/05/2023   RE2        SCAN/COPY ( 5 @0.10 PER PG)                            0.50
  RE2          01/05/2023                                 $0.70
   Bill
 01/05/2023   RE2        SCAN/COPY ( 7 @0.10 PER PG)                            0.70
  RE2          01/06/2023                                 $0.80
   Bill
 01/06/2023   RE2        SCAN/COPY ( 8 @0.10 PER PG)                            0.80
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  RE2          01/06/2023                               $4.00
   Bill
 01/06/2023   RE2        SCAN/COPY ( 40 @0.10 PER PG)                         4.00
  RE2          01/06/2023                               $0.50
   Bill
 01/06/2023   RE2        SCAN/COPY ( 5 @0.10 PER PG)                          0.50
  RE2          01/06/2023                               $0.50
   Bill
 01/06/2023   RE2        SCAN/COPY ( 5 @0.10 PER PG)                          0.50
  RE2          01/17/2023                               $0.30
   Bill
 01/17/2023   RE2        SCAN/COPY ( 3 @0.10 PER PG)                          0.30
  RE2          01/17/2023                               $0.70
   Bill
 01/17/2023   RE2        SCAN/COPY ( 7 @0.10 PER PG)                          0.70
  RE2          01/17/2023                               $0.30
   Bill
 01/17/2023   RE2        SCAN/COPY ( 3 @0.10 PER PG)                          0.30
  RE2          01/17/2023                               $0.80
   Bill
 01/17/2023   RE2        SCAN/COPY ( 8 @0.10 PER PG)                          0.80
  RE2          01/17/2023                               $0.70
   Bill
 01/17/2023   RE2        SCAN/COPY ( 7 @0.10 PER PG)                          0.70
  RE2          01/17/2023                               $1.00
   Bill
 01/17/2023   RE2        SCAN/COPY ( 10 @0.10 PER PG)                         1.00
  RE2          01/20/2023                               $4.80
   Bill
 01/20/2023   RE2        SCAN/COPY ( 48 @0.10 PER PG)                         4.80
  RE2          01/20/2023                               $1.70
   Bill
 01/20/2023   RE2        SCAN/COPY ( 17 @0.10 PER PG)                         1.70
  RE2          01/20/2023                               $2.30
   Bill
 01/20/2023   RE2        SCAN/COPY ( 23 @0.10 PER PG)                         2.30
                    Case
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  RE2          01/20/2023                               $1.60
   Bill
 01/20/2023   RE2        SCAN/COPY ( 16 @0.10 PER PG)                         1.60
  RE2          01/20/2023                               $1.80
   Bill
 01/20/2023   RE2        SCAN/COPY ( 18 @0.10 PER PG)                         1.80
  RE2          01/20/2023                               $1.30
   Bill
 01/20/2023   RE2        SCAN/COPY ( 13 @0.10 PER PG)                         1.30
  RE2          01/20/2023                               $1.40
   Bill
 01/20/2023   RE2        SCAN/COPY ( 14 @0.10 PER PG)                         1.40
  RE2          01/20/2023                               $2.20
   Bill
 01/20/2023   RE2        SCAN/COPY ( 22 @0.10 PER PG)                         2.20
  RE2          01/20/2023                               $4.70
   Bill
 01/20/2023   RE2        SCAN/COPY ( 47 @0.10 PER PG)                         4.70
  RE2          01/24/2023                               $1.70
   Bill
 01/24/2023   RE2        SCAN/COPY ( 17 @0.10 PER PG)                         1.70
  RE2          01/24/2023                               $0.50
   Bill
 01/24/2023   RE2        SCAN/COPY ( 5 @0.10 PER PG)                          0.50
  RE2          01/24/2023                               $0.40
   Bill
 01/24/2023   RE2        SCAN/COPY ( 4 @0.10 PER PG)                          0.40
  RE2          01/24/2023                               $4.60
   Bill
 01/24/2023   RE2        SCAN/COPY ( 46 @0.10 PER PG)                         4.60
  RE2          01/24/2023                               $2.00
   Bill
 01/24/2023   RE2        SCAN/COPY ( 20 @0.10 PER PG)                         2.00
  RE2          01/24/2023                               $0.40
   Bill
 01/24/2023   RE2        SCAN/COPY ( 4 @0.10 PER PG)                          0.40
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  RE2          01/27/2023                                $1.10
   Bill
 01/27/2023   RE2        SCAN/COPY ( 11 @0.10 PER PG)                         1.10
  RE2          01/27/2023                                $0.20
   Bill
 01/27/2023   RE2        SCAN/COPY ( 2 @0.10 PER PG)                          0.20
  RE2          01/27/2023                                $0.20
   Bill
 01/27/2023   RE2        SCAN/COPY ( 2 @0.10 PER PG)                          0.20
  PAC          01/31/2023                               $14.90

 01/31/2023   PAC        Pacer - Court Research                              14.90

   Total Expenses for this Matter                                         $71.34
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                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        01/31/2023

Total Fees                                                                                            $72,681.00

Total Expenses                                                                                             71.34

Total Due on Current Invoice                                                                          $72,752.34

  Outstanding Balance from prior invoices as of        03/09/2023          (May not include recent payments)

A/R Bill Number           Invoice Date              Fees Billed         Expenses Billed             Balance Due
 130900                   08/31/2022               $263,934.50             $391.68                   $52,786.90

 131012                   09/30/2022               $135,367.50              $84.20                    $27,073.50

 131217                   10/31/2022               $111,238.50             $472.50                    $22,247.70

 131438                   11/30/2022               $113,515.00              $93.32                   $113,608.32

 131660                   12/31/2022                $78,515.00              $96.70                    $78,611.70

             Total Amount Due on Current and Prior Invoices:                                         $367,080.46
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

    In re:                                                Chapter 11

    AGWAY FARM & HOME SUPPLY, LLC,                        Case No. 22-10602 (JKS)

                             Debtor.1

                                                         Objection Deadline: March 23, 2023 at 4:00 p.m. (ET)
                                                                   Hearing Date: Scheduled only if Necessary

       NOTICE OF SIXTH MONTHLY APPLICATION FOR COMPENSATION AND
    REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES LLP,
     AS COUNSEL FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
         FOR THE PERIOD OF JANUARY 1, 2023 THROUGH JANUARY 31, 2023

                 PLEASE TAKE NOTICE that on March 13, 2023, Pachulski Stang Ziehl & Jones

LLP, Counsel for the Official Committee of Unsecured Creditors (the “Committee”), filed the

Sixth Monthly Application for Compensation and Reimbursement of Expenses of Pachulski Stang

Ziehl & Jones LLP, as Counsel for the Official Committee of Unsecured Creditors for the Period

of January 1, 2023 through January 31, 2023 (the “Application”) seeking compensation for the

reasonable and necessary services rendered to the Committee in the amount of $72,681.00 and

reimbursement for actual and necessary expenses in the amount of $71.34. A copy of the

Application is attached hereto.

                 PLEASE TAKE FURTHER NOTICE that any response or objection to the

Application, if any, must be made in writing and filed with the United States Bankruptcy Court for

the District of Delaware, 824 North Market Street, 3rd Floor, Wilmington, Delaware 19801 (the

“Court”) on or before March 23, 2023 at 4:00 p.m. Eastern Time.




1
  The last four digits of the Debtor’s federal tax identification number are 1247. The Debtor’s address is 6606 W.
Broad Street, Richmond, VA 23230.


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                 The Application is submitted pursuant to the Order Establishing Procedures for

Interim Compensation and Reimbursement of Professionals, entered on August 3, 2022 [Docket

No. 114] (the “Administrative Order”).

                 PLEASE TAKE FURTHER NOTICE that at the same time, you must also serve

a copy of the response or objection upon: (i) the Debtor: Agway Farm & Home Supply, LLC,

6006 W. Broad Street, Richmond, Virginia, 23230 (ii) counsel to the Debtor: Morris James LLP,

500 Delaware Avenue, Suite 1500, Wilmington, Delaware, 19801, Attn: Jeffrey R. Waxman

(jwaxman@morrisjames.com), and Brya Keilson (bkielson@morrisjames.com) and Shulman

Bastian Friedman & Bui LLP, 100 Spectrum Center Drive, Suite 600, Irvine, California, 92618,

Attn:       Alan     J.      Friedman   (afriedman@shulmanbastian.com),   Melissa   Davis   Lowe

(mlowe@shulmanbastian.com), and Max Casal (mcasal@shulmanbastian.com); (iii) the Office of

the United States Trustee, 844 King Street, Suite 2207, Lockbox #35, Wilmington, Delaware,

19801, Attn: Richard L. Schepacarter (richard.schepacarter@usdoj.gov); and (iv) counsel to the

Official Committee of Unsecured Creditors, Pachulski Stang Ziehl & Jones LLP, 919 N. Market

Street, 17th Floor, Wilmington, Delaware, 19801, Attn: Bradford J. Sandler, Esq.

(bsandler@pszjlaw.com) and Colin R. Robinson, Esq. (crobinson@pszjlaw.com).

                 PLEASE TAKE FURTHER NOTICE THAT IF NO OBJECTIONS ARE

FILED AND SERVED IN ACCORDANCE WITH THE ABOVE PROCEDURES, THEN 80%

OF FEES AND 100% OF EXPENSES REQUESTED IN THE APPLICATION MAY BE PAID

PURSUANT TO THE ADMINISTRATIVE ORDER WITHOUT FURTHER HEARING OR

ORDER OF THE COURT.




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                 IF A TIMELY OBJECTION IS FILED AND SERVED, A HEARING ON THE

APPLICATION WILL BE HELD AT A DATE AND TIME TO BE DETERMINED.



 Dated: March 13, 2023                     PACHULSKI STANG ZIEHL & JONES LLP

                                           /s/ Colin R. Robinson
                                           Robert J. Feinstein (admitted pro hac vice)
                                           Bradford J. Sandler (DE Bar No. 4142)
                                           Colin R. Robinson (DE Bar No. 5524)
                                           919 N. Market Street, 17th Floor
                                           Wilmington, DE 19801
                                           Telephone: (302) 652-4100
                                           Facsimile: (302) 652-4400
                                           Email: rfeinstein@pszjlaw.com
                                                   bsandler@pszjlaw.com
                                                   crobinson@pszjlaw.com

                                           Counsel to the Official Committee of Unsecured
                                           Creditors




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